 

TPW/RDM: USAO 2018R00236
AT GREENBELT

 

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Case 8:19-cr-00228-PWG Document 1-1 CTT ES of 40

APR 12 2019

CLERK, U.S. DISTRICT CO
DISTRICT OF MARYLAND

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DEPUTY

 

    
 

UNITED STATES OF AMERICA *
* FILED UNDER SEAL
Vv. *
*
_ SEUN BANJO OJEDOKUN, * — caseno. 14m Ih [24S Tmp
*
Defendant *
*
KRKEKEEK

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

Your Affiant, Keith A. Custer, being first duly sworn, deposes and states as follows:

1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”), United
States Department of Justice. I have been employed by the FBI for approximately 12 years, during
which time I have been assigned to the Baltimore Division. I am currently assigned to a white
collar crime squad. I have received instruction and training, along with investigative experience,
in contract fraud, mortgage fraud, financial institution fraud, healthcare fraud, wire fraud, and
money laundering. In addition I have received training in computer forensics and electronic mail
(“email’’) analysis. In the course of conducting or participating in criminal investigations, I have
been involved in interviewing and debriefing witnesses and informants; conducting physical
surveillance; analyzing bank records and other financial documents; analyzing telephone records;
collecting and analyzing evidence; and preparing and executing search warrants, including search
warrants for email accounts.

2. I have personally participated in this investigation and have witnessed many of the
facts and circumstances described herein. I have also received information from other law

enforcement officers relating to this investigation. The information set forth in this affidavit is

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based on my own observations and review of documents, or reliable information provided to me
by other law enforcement personnel. I am setting forth only those facts and circumstances
necessary to establish probable cause for the issuance of the requested arrest warrant and
complaint. Unless otherwise indicated, all written and oral statements referred to herein are set
forth in substance and in part, rather than verbatim.

3. This affidavit is being submitted in support of an arrest warrant for SEUN BANJO
OJEDOKUN (“OJEDOKUN”). Based on the facts set forth in this affidavit, | submit that there
is probable cause to believe that OJEDOKUN violated 18 U.S.C. § 1956(h) (money laundering
conspiracy) and § 1956(a)(1)(A)(i), (a)(1)(B)G), and § 2 (promotion and concealment money
laundering).

CONVICTION OF OJEDOKUN CO-CONSPIRATORS

4. On May 18, 2015, a federal grand jury for the District of Maryland returned an
indictment charging Gbenga Benson Ogundele (“Ogundele”), Mukhtar Danjuma Haruna
(“Haruna”), and eight other individuals with conspiracy to commit wire fraud (in violation of 18
U.S.C. § 1349), conspiracy to commit money laundering (18 U.S.C. § 1956(h)), and aggravated
identity theft (18 U.S.C. § 1028A). See Criminal No. PWG-15-277 (D. Md.). Following a four-
week jury trial in 2016, Ogundele was found guilty of one count of Conspiracy to Commit Wire
Fraud, one count of Conspiracy to Commit Money Laundering, and one count of Aggravated
Identity Theft on November 18, 2016. On March 22, 2017, Ogundele was sentenced to a term of
234 months incarceration and ordered to pay restitution in the amount of $2,195,103.06. Haruna
remains at large, and is currently believed to be located in Nigeria. With the exception of Haruna,

all charged defendants either pleaded guilty or were convicted by a jury of charges related to their

roles in the scheme described below. / } I] ) /
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Summary of the Fraud and Money Laundering Scheme

5. In December 2012, the Internet Crime Complaint Center! (“IC3”) forwarded an
Internet Crime Complaint Center Report to the Baltimore Division of the FBI. The report was
based on complaints from six individuals who claimed to have been defrauded of a combined total
of $754,058. Each victim reported developing a relationship with an individual that they had met
through an online dating website such as Match.com or another social networking website. The
relationships typically began with emails and instant messaging and on occasion escalated to phone
calls. Each of the victim’s romantic interests purported to be from an English speaking first-world
country, such as the United States or Australia, but represented that they were temporarily overseas
for various reasons such as military service or business. The victims at times received small gifts
such as flowers or chocolates from their romantic interest. Eventually after gaining the victim’s
confidence, the romantic interests began asking for money for a variety of reasons. This money
was sent in several ways, including Western Union or MoneyGram money transfers, wire transfers
to identified bank accounts in the United States, international wire transfers to bank accounts held
by shell corporations outside the United States, cash deposits to identified bank accounts in the
United States, or cash or check sent by mail to third parties in the United States. The romantic
interest continued to ask for money until the victim determined that they were being defrauded or

simply ran out of cash. This type of scheme is commonly referred to as a “romance scam.”

 

' The Internet Crime Complaint Center is a partnership of the FBI and the National White Collar
Crime Center whose mission is “to serve as a vehicle to receive, develop, and refer criminal
complaints regarding the rapidly expanding arena of cyber crime. The IC3 gives the victims of
cyber crime a convenient and easy-to use reporting mechanism that alerts authorities of suspected
criminal or civil violations. For law enforcement and regulatory agencies at the federal, state,
local, and international level, the IC3 provides a central referral mechanism for complaints

involving Internet related crimes.”
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6. Investigation determined that the conspiracy also encompassed other types of fraud
to include fraudulent income tax refunds, international lottery scams, counterfeit check scams,
account takeovers, and business email compromises. It was part of the conspiracy that the charged
co-conspirators received proceeds of these frauds into their U.S. bank accounts and then purchased
and exported used automobiles to Nigeria where cars were sold in the local currency, Nigerian
naira. The resulting funds were then distributed in Nigerian naira amongst the co-conspirators.
Through training, knowledge, and experience I recognize this behavior as trade-based money
laundering, which is utilized by criminals to move large sums of money from one country to
another without having to utilize the traditional financial system where such transactions might
draw the scrutiny of regulators or law enforcement. This practice is important to the establishment
of long-term money laundering networks as it provides a veneer of legitimacy to the members of
the network who can represent themselves as used car dealers. Since January 2011, individuals
associated with this particular money laundering network purchased vehicles at three major auto-
auctions in the greater Baltimore-Washington area for a total value of $13.393 million. All told,
the investigation identified over 340 unique victims of romance scams and other schemes named
above. Many other victims were not identified at all. The victims reside primarily in the United
States, but also reside in other countries including Canada, Australia, United Kingdom, France,
and Spain. The total estimated loss for both the identified and unidentified victims is at least $22
million.

7. In the conspiracy, Haruna, operating from Nigeria, acted as a broker between
individuals executing scams (“scammers’””)—who needed U.S. bank accounts for their victims to
deposit money—and Ogundele, who headed a group in the United States that controlled a number

of U.S. bank accounts that were used to receive victim deposits. Haruna also facilitated

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communication between the scammers and Ogundele’s group by acting as a middle man

throughout the transaction. In many instances, there were several layers of middlemen between

the scammers and the drop account holders. The co-conspirators communicated using a number
of ways including phone, email, and SMS text message. Based on the information herein, I believe
OJEDOKUN, who was based in Nigeria during the scheme, was one of these additional
middlemen that facilitated fraudulent financial transactions.

8. The indictment of Ogundele and Haruna listed 15 bank accounts—controlled by
the charged defendants— that were used to receive victim deposits. These accounts, also referred
to as “Drop Accounts,” were mostly in the names of businesses created by the defendants, although

occasionally the defendant’s received funds into accounts held in their own name. Below is a list

 

of certain Drop Accounts, along with the associated charged defendants, the businesses, and the

approximate amount of suspected fraudulent deposits received into each account:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bank Last 4 of | Shell Corporation Account Amount of
account Owner(s) Suspected
number Fraudulent

Deposits ($)

Bank of America 2143 Friendly Auto Sales Gbenga Ogundele $921,587

(“BOA”)

BOA 7607 G.O. Benson Group LLC Gbenga Ogundele $643,638

Wells Fargo (“WF”) 4126 G.O. Benson Group LLC Gbenga Ogundele $292,001

Capital One (“CO”) 9448 G.O. Benson Group LLC Gbenga Ogundele $293,006

BOA 7699 EAV Groups LLC Victor Oloyede $845,251

BOA 7709 EAV Groups LLC Victor Oloyede $235,890

WE 7321 None Victor Oloyede $226,586

co 5256 Crown Global LLC Victor Oloyede $408,848

BOA 5410 None Olusegun C. $55,340

Ogunseye
BOA 1185 Olusegun Ogunseye dba Olusegun C. $225,862
Olusegun C. Ogunseye Ogunseye
Export
BOA 2097 DBA Yinka O Awolaja Jr. Adeyinka $133,722
Kiski Entertainment, Awolaja Jr. and
Adeyinka O. Awolaja Sole Babatunde
Prop Popoola

BOA 5641 None Mojisola Popoola $294,478

WE 6413 Grace Auto Olusola Olla $319,065

BOA 6821 None Funmilayo $127,801

Shodeke
WF 4096 None Olufemi Wilfred $394,617
Williams

 

 
 

 

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OPEQLUWASEUN@GMAIL.COM Email Search Warrant

9. During the investigation I obtained search warrants for over 30 email accounts that
were utilized during the scheme. One of these accounts was <dmukky@yahoo.com> (“the
DMUKKY ACCOUNT”), which, as proven at trial, was utilized by Haruna throughout the
scheme. Another of these accounts was <opeoluwaseun@gmail.com> (“the OPEO
ACCOUNT’) which, as discussed below, I believe was utilized by OJEDOKUN in the
conspiracy.

10. On August 28, 2014, United States Magistrate Judge Charles B. Day authorized a
search warrant for the OPEO ACCOUNT. In response to this search warrant, Google provided
the following subscriber information:

GOOGLE SUBSCRIBER INFORMATION
Name: Seun Banjo

e-Mail: opeoluwaseun@gmail.com

Recovery e-Mail: seunban2000@yahoo.co.uk
Created on: 2011/06/25-21:39:41-UTC

SMS: +234XXXXX7481 [NG]

A search of FBI databases determined that a Non-Immigrant Visa was issued to OJEDOKUN,
residing in Lagos, Nigeria, on 28 June 2017. The visa was an F-1 student visa and on it
OJEDOKUN listed an email address of <seunban2000@yahoo.co.uk> and a particular home
phone number, both of which match the subscriber information provided by the subscriber of the
OPEO ACCOUNT. On his visa application, OJEDOKUN listed an address in Alimosho,

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Nigeria, which I know to be a part or suburb of greater Lagos.

 
 

 

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Additional Indicia of OJEDOKUN’S Ownership of the OPEO ACCOUNT
11. Several other items located in the OPEO ACCOUNT identified OJEDOKUN as
the owner of the account. For example, I located the below email in which OJEDOKUN sent a

copy of his curriculum vitae (“C.V.”) to a potential employer:

Subject: Curriculum Vitae

Date: Thu, 23 May 2013 17:29:37 +0100
From: Seun Banjo <opeoluwaseun@gmail.com>
To: careers@etisalat.com.ng

Attachment: | Ojedokun, Seun CV.doc
I know Etislat to be a Nigerian telecommunications provider. The identifying information on the

top of the attached C.V. is shown below:

OJEDOKUN, SEUN BANJO
EE 1.11010 Lacos

Tel: 7481 E-mail: opeoluwaseun@ gmail.com

Date of Birth: I} 986

Mottvated Chemist, with excellent interpersonal skills, results driven with experience in team work and working to
tight deadlines.
Seeking a lecturing position, to build upon practical, research, technical knowledge and skills.

EDUCATION

2006-2010 University of Ibadan, Ibadan
BSe, (Honour) Chemistry Second Class division
Options: Pure and Applied Chemistry
Main subjects include, Manufacturing Management, Consultancy tools and manufacturing.
Project; ‘Characterization of Natural Rubber and its Co-polymers’
The purpose of the project was to prepare natural rubber from two sources and then co -polymerises
each product with polyacrylonitrile. The copolymers are to get new physical properties that are of
mechanical advantages and other advantages which using natural rubber would have been a
disadvantage.

1994-2000  Qwode High School, Qwode Egha, Ogun State
Senior Secondary School Certificate (SSCE)

The name, address, phone number, and date of birth found on the C.V. in the OPEO ACCOUNT
match with the information found on the visa application for OJEDOKUN. Additionally, the

C.V. indicates that OJEDOKUN has a chemistry degree and is a “motivated chemist.” My
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investigation has revealed that OJEDOKUN is currently enrolled as a graduate chemistry student
at a university in Chicago, Illinois. |

12. Additional review of the OPEO ACCOUNT found that the user of that account
had been seeking admission to graduate schools in the United States in 2014. For example, the
email below was noted, in which OJEDOKUN appears to have submitted an online application
to the University of Rhode Island using the OPEO ACCOUNT as his primary email:

Subject: Online Account Information

Date: Sat, 21 Jun 2014 07:51:02 -0400

From: University of Rhode Island <support@hobsons.com>
Reply-To: no-reply-ay@hobsons.com

To: opeoluwaseun@gmail.com

Dear Seun Ojedokun,

This email is to confirm your new online Application account for University of Rhode Island.
Below is the information you provided when establishing this account:

First Name: Seun

Last Name: Ojedokun

Email Address: opeoluwaseun@gmail.com

The following PIN will be required to gain access to your Application account. If you don't have
your password, please use the Forgot your PIN or password Link on the login page.

PIN: 697937287U6

Application URL: https://app.applyyourself.com/?id=URI

Your application account will remain active for one year from the date of your last access.
Although you may, from time to time, receive emails from us, your application information will
not be released to our office until you have submitted your application. When you complete your
online application, remember to submit it by clicking the Submit Application button located at the
top of the online application main menu. Please direct specific questions about the application
process to our office. If you experience any technical difficulty with your application, please log
into the application and click on the Tech Support button at the top of the page.

If you need to contact Technical Support and cannot access it from within the Application, you
can do so at

https://app.applyyourself.com/A YContactHelpDesk/TechSupport.asp?packageType=A pplication
%20for%20Admission&ca=URI &p=697937287U6

Sincerely,

University of Rhode Island I) } | /
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Examples of Money Laundering in the OPEO ACCOUNT

13, A review of the OPEO ACCOUNT found that OJEDOKUN was in contact with

Haruna in April 2014 regarding a $2,800 fraudulent deposit into the WF 4126 drop account

controlled by Ogundele. The fraudulent deposit receipt originated from the following email chain:

Subject: RE: Deposit of funds

Date: Sat, 26 Apr 2014 07:13:02 -0700

From: Richard Barry Jackson <headofaccounting@outlook.com>
To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>
Attachment: 20140425_101504.jpg 1.9 MB

 

From: headofaccounting@outlook.com
To: r.sultan79@yahoo.com

Subject: RE: Deposit of funds

Date: Fri, 25 Apr 2014 13:23:07 -0700

 

Date: Fri, 25 Apr 2014 10:16:35 -0500
Subject: Deposit of funds

From: Victim #1@gmail.com

To: headofaccounting@outlook.com

Deposit

In an interview with the FBI, Victim #1 related that she responded to a job posting on Indeed.com

for a work from home position. She stated that she received a check from her supposed employer

that she was supposed to use to pay for the software that she would need for the job. Victim #1

cashed the check at her BOA branch and deposited the $2,800 as she was instructed into the WF

4126 account. A few days after the deposit, she was contacted by BOA, which notified her that

the check was fraudulent. BOA closed her account and charged off the $2,800. A search of FBI

databases located three IC3 complaints related to Richard Barry Jackson and/or the

<headofaccounting@outlook.com> email address. In each instance, the victim reported they were

the victim of an attempted employment scam. In two of the cases, the victims received fraudulent

checks and were directed to cash them and then deposit the proceeds to another bank account.

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14. After receiving the deposit receipt from the <headofaccounting@outlook.com>

account, OJEDOKUN forwarded it to Haruna with no additional comment, as shown below:

Subject: Fwd: Deposit of funds

Date: Sat, 26 Apr 2014 07:24:12 -0700

From: Seun Banjo <opeoluwaseun@gmail.com>
To: dmukky@yahoo.com

Attachment: 20140425 _101504.jpg 1.9 MB

 

This email was typical of the scheme, in which victims, often well outside of the geographic
footprint of the Drop Account owner, were directed to make deposits to Drop Accounts and take
a photograph of the receipt. This photograph was then used by the scammers as proof to the Drop
Account holder that the deposit had been made. Haruna replied to the OJEDOKUN email, and

OJEDOKUN replied as shown below:

Subject: Re: Payment

Date: Sat, 26 Apr 2014 10:05:53 -0700

From: Seun Banjo <opeoluwaseun@gmail.com>
To: dmukky@yahoo.com

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A customer asked the documents to be sent to you.
On 26 April 2014 07:42, <dmukky@yahoo.com <mailto:dmukky@yahoo.com>> wrote:
Who is dis please

Sent from my BlackBerry 10 smartphone.

*From: *Seun Banjo

*Sent: *Saturday, 26 April 2014 14:30

*To: *dmukky@yahoo.com <mailto:dmukky@yahoo.com>
*Subject: *Fwd: Fw: Payment

In this email chain, Haruna is asking who is contacting him with the deposit receipt.
OJEDOKUN replied that he was asked by a “customer” to forward the documents to Haruna.
Based on my training and experience, I believe that OJEDOKUN’s customer was in fact a
scammer, or agent of a scammer, operating the fraud email account
<headofaccounting@outlook.com>, that has arranged for their victim to deposit to drop account
WF 4126, controlled by Ogundele. The scammer is working with OJEDOKUN to facilitate a
transaction whereby the $2,800 is exchanged for Nigeria naira. In essence, the scammer has
contracted with OJEDOKUN to “‘seil” the fraudulently obtained U.S. dollars for Nigerian naira.
OJEDOKUN has presumably already paid or reached an agreement to pay the scammer in naira,
at a black market exchange rate and now needs to collect from Haruna at a more favorable rate in
order to turn a profit.

15. Although the transaction above was the only one involving OJEDOKUN and
Haruna found in the OPEO ACCOUNT, a review of emails in the DMUKKY ACCOUNT
revealed evidence of another transaction, which presumably had been deleted from the OPEO

ACCOUNT. The email and attachment are shown below: ro

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From:

Sent:

To:

Subject:
Attachments:

 

Seun Banjo <opeoluwaseun@gmail.com>
Saturday, April 26, 2014 9:31 AM
dmukky@yahoo.com

Fwd: Fw: Payment

20140425_121347,jpg

 

 

The attachment above shows a cash deposit of $1,300 into Ogundele’s WF 4126 account on April

25, 2014. Although I was not able to identify a victim for this deposit, the amount and date are

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Email from OJEDOKUN to Haruna

 

Attachment to 4/26/2014 email from OJEDOKUN

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consistent with other fraudulent deposits related to the employment scam scheme described in this
affidavit.

SULTAN ACCOUNT

16. The email account <r.sultan79@yahoo.com> (the “SULTAN ACCOUNT”), seen
above in the email chain involving <headofaccounting@outlook.com>, was a_ frequent
correspondent with the DMUKKY ACCOUNT, particularly with respect to deposits made to
Ogundele’s WF 4126 account, and notably involving emails bearing the hallmarks of employment
scams that were sent around the same time that OJEDOKUN contacted Haruna in April 2014.
For example, the email and attachment below originated from “Scott Anglin” using the email
account <employmentdesk11@yahoo.com>. I believe this email is another alias that was used in
an employment scam. The subject “DEPOSIT FROM TEE JAY” indicates that the scammer is
known to the owner of the SULTAN ACCOUNT as “Tee Jay.” The email was sent initially to

the SULTAN ACCOUNT and was forwarded on to the DMUKKY ACCOUNT:

 

From: rsultan79 <r.sultan79@yahoo.com >
Sent: — Friday, April 11, 2014 10:19 AM

To: dmukky@yahoo.com

Subject: Fwd: DEPOSIT FROM TEE JAY
Attachments: WP_20140411_001 jpg

woeseeee Original Message --------
Subject: DEPOSIT FROM TEE JAY
From: Scott Anglin <employmentdesk11@yahoo.com>

To: r.sultan79@yahoo.com
cc:

 

 

 

Email originating from Scott Anglin

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: {ia Farag Be
Transaction Re

500

$2,500.00

Transaction # CM 008
gaqsa t4/ticia Credited 0471414

‘Thank vou.

 

Attachment to the Anglin email
The attachment clearly shows a $2,500 cash deposit to Ogundele’s WF 4126 account on April 11,
2014. Records provided by Wells Fargo showed that the deposit above occurred in Linden, New
Jersey. A search of IC3 located five complaints related to “Scott Anglin” and/or
<employmentdesk11@yahoo.com>. All of the complaints were for employment scams. On April
16, 2014, the DMUKKY ACCOUNT received the email and attachment below from the
SULTAN ACCOUNT. Similar to the “Anglin” email, this email purported to be from “Natalie

Hastings” using the email address <hiring natalie@yahoo.com>. ) ) y)
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From:
Sent:

To:

Subject:
Attachments:

--- Original Message ------

r.sultan79 <r.sultan79@yahoo.com>
Wednesday, April 16, 2014 10:29 AM
dmukky@yahoo.com

Fwd: Deposit slip from Muri
imgQ57,jpg

Subject: Deposit slip from Muri
From: Natalie Hastings <hiring natalie@yahoo.com>
To: r.sultan79@yahoo.com

 

 

 

 

Email originating from Natalie Hastings
Wells Fargo Bank
Transaction Receipt

tore #0069529 6 Deposit

scour Number AXXXXX4 126

00336

umber of Checks 1

VeCks Amount $2,450.00

otal deposited $2,450.00

‘ansaction # £09 J613

h2eAM

nank you; Carol

O47l6/14 Credited: 04/67 ta

 

 

Attachment to the Hastings email

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This attachment shows a receipt for a $2,450 check deposit to Ogundele’s WF 4126 account. A

search of records provided by Wells Fargo for the WF 4126 account identified the remitter of the

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cashier’s check as Victim #2. On October 28, 2014, Victim #2 was interviewed by agents from
the New Haven division of the FBI. Victim #2 advised that she was a resident of Ansonia,
Connecticut that had fallen victim to an employment scam perpetrated by “Natalie Hastings” using
the email address <hiring natalie@yahoo.com>. Victim #2 received a fraudulent check for office
supplies and was directed to immediately cash it and deposit the proceeds into WF 4126. A few
days after she deposited the check, Victim #2 was contacted by her bank, BOA, which notified her
that the check was fraudulent. BOA held Victim #2 liable for the full amount of the check and as
of the date of her interview Victim#2 was still in the process of paying BOA back.
OJEDOKUN Facilitating Money Laundering with Others

UBALE ACCOUNT

17. Areview of the OPEO ACCOUNT identified numerous other email accounts with
whom OJEDOKUN appeared to be working with to facilitate money laundering. For example,
OJEDOKUN received several emails from the account <ubarans74@yahoo.com>, which
frequently used the email display name “Ubale Yunusa” (hereafter “the UBALE ACCOUNT”),
that contained deposit receipts that were the proceeds of identified fraud. An example email and

attached wire confirmation are shown below:
Date: Fri, 9 May 2014 11:43:52 +0100 (BST)

From: ubarans74@yahoo.com <ubarans74@yahoo.com>
To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>

Sent from Yahoo Mail on Android
Attachment: IMG_20140509_113911.JPG

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Outgoing Wire Transfer Request

Wire Transfer Services
FARGO

 

 

 

Today's Date: Created Aer Deadiine: Wells Fargo Reference Number:

04/08/2034 Yes |FwO000811098328183 _—
Banker Name: Officer/Portfotio Number:

[KAREN LUNA . [CP779

Banker Phone: Store Number: Banker AU: Banker MAC:

619/477-1194 — |04501 {0000811 {E2408-011 .

Gutgomg wires can only be sent for Wells Fargo customers. Provide the Customer Copy to the customer ensuring you give them the Wire Transfer Agreement on pages 3 and 4. Note:
Wells F argo Wire Transfer Services will route wires based. it ioaships. See the Wire Transfer is e ‘Mexican CLABE number, the

 

SVGET BIC, the international Routing Cade ['7RC") and the International Bank Account Nurnber CIBAN").

Originator's Information

 

 

 

 

 

 

 

Customer Name: Street Address:
Primary iD Type: PrimayIDDesviptio: =S*~*~=<CS«SS a Ln: —
FINV {PIN Validation co eeceee
Primary iD SUCUry/Prov. Primary 1D swe Date: Primary ID Expiration Date: Address tine 3
|
oie an - ey sag
IDLIC . _ _|SAN_ DIEGO ICA
SecondarylD State/Country: Secondary 'Dissue Date: Secondary ID Expiration Date: UP Postal Code: Country:
cA {05/27/2009 105/24/2014 92114-4116 an oe
Business, Tryst, or Estate Name: Home Phone: Business Phone:
COMMUNITY BOOKSTORE Sten 169/264-2370

Wire Amount and Source of Funds

 

 

 

 

 

 

 

 

 

 

Create AU: Amount (US Dollars}: Debit Wetts Fargo Account: BankiCO1D:
0000811 [$95,000.00 12552871226 00114
Beneficiary/Recipient Information (This is the ultimate recipiant of the wire transfer funds)
Beneficiary/Recipient Name: Name/Address Line 3:
WILLIAMS ENTERPRISE 14070 BALTIMORE AVE
Beneficiary Account Number BAN (Foreign)/CLABE (Mexico): Neme(Addesline?2 SCS
{1000169315271 LAUREL MARYLAND 20707
en ~ Namalhaies ine ee mm
WHANK YOU FOR ROING BUSINESS WITH SS CB
/ Benehesary Prone Number.
nie _—___
a tary Bank (This is the financial institution where tha beneficiary maintains their account}
ABARIN SWAETARIC Berwficiary Bank Name:
1961000104 \ SUONTRUST BANK .
Beneficiary Bank Address: City. State:
: |ATLANTA [SA

 

 

 

Page 1 of 4
WITR6GO3 (11-13 SVP)

18. This wire confirmation shows a wire for $95,000 by Victim #3 on behalf of a
community book store in San Diego to a business named Williams Enterprise in Laurel, Maryland.
Ogundele and his convicted co-defendant Victor Oloyede (“Oloyede”) both resided in Laurel,
Maryland during the scheme. Victim #3 was interviewed by the FBI in June 2018 and stated that
she had been the victim of a romance scam after meeting an individual on eHarmony.com in 2012
and 2013. After losing $15,000 of her own, Victim #3 realized she was being defrauded and broke

off contact with the fraudster. About a year later, in March or April 2014, she was contacted again

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by the scammer, who told Victim #3 that he was owed a large sum of money from a business deal
and stated that if Victim #3 helped him she could earn some of the money back that she had lost
previously. Victim #3 agreed and received to her WF bank account certain wire deposits from
Company 1, an identified victim of a business email compromise, in the amounts of $85,000 on
April 7, 2014, and $115,000 on April 8, 2014. FBI interviews with Company | executives
confirmed that Company 1’s corporate controller received a spoofed email from an email address
closely resembling that of Company 1’s Chief Financial Officer directing the fraudulent wire
transfers to Victim #3’s WF business account.

19. A review of SunTrust bank records for the Williams Enterprise account showed
that the account was opened by Co-Conspirator #1 of Burtonsville, Maryland on April 2, 2014,
only five days before the $85,000 wire transfer. At the time of the account opening, Co-
Conspirator #1 was 27 years old. The account was closed by the bank on May 7, 2014, but Co-
Conspirator #1 was given the balance of funds in the account, which amounted to $118,965, ina
cashier’s check. The UBALE ACCOUNT forwarded three additional emails to the OPEO
ACCOUNT which showed photographs of Co-Conspirator #1’s SunTrust account statements
with the fraudulent wire transfer from Victim #3 and a SunTrust notice of account closure,
presumably sent to Co-Conspirator #1. All three emails were sent with a single attachment on
May 19, 2014, at 3:47 a.m. Eastern Daylight Time with no subject and no message. The three

attachments are shown below:

-18-
 

 

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Email Attachment 1

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Case 8:19-cr-00228-PWG Document i-1 Filed 04/12/19

Email Attachment 2

- 20 -

 

 

 

 
 

 

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bullbalshdibll all llletlbalse all

TN-COOKEVILLE-0g01 :
SUNTRUST BANK

 

   

Email Attachment 3
Based on my knowledge, training, and experience, I believe that OJEDOKUN, Co-Conspirator
#1, and the owner of the UBALE ACCOUNT conspired to launder the proceeds of the business
email compromise that victimized Company 1.
McFORD ACCOUNT
20. Additional review of the OPEO ACCOUNT found more emails that were
consistent with money laundering. On May 20, 2014, the OPEO ACCOUNT received the

email shown below:

Subject: SLIP FROM APAMAN

Date: Tue, 20 May 2014 07:22:40 -0700 (PDT)

From: Harry Mcford <hford_55@yahoo.com>

To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>
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iL) dif: -21- 4
 

 

Case 8:19-cr-00228-PWG Document 1-1

Attachment: Scan001 jpg

Wire Transfer Services

Outgoing Wire Transfer Request

Filed 04/12/19

WELLS
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Today's Gate: Created After Deadhae: Wetts Fargo Refererics Nuenber;
fos/i972cd Yes [ewO007 53334171721
Banker Neme: Offices/Portioko Kurnber.

. pease
Banker Phone: Store Nurnber Banxee Ail: Banker MAC:

25S E28 - 2222 05866 3CO7533 $4356-011

Qutgoing wires can only be sent for Wells Fargo custamers, Provide the Customer Copy to the customer ensuring you give them the Wire Transfer Agreement on pages 3 and 4. Nate:

 

 

 

 

 

 

 

Wire Amount and Source of Funds

Create Au: Banit Wells Farge Account: Sank/TOIRr

   
 

GOATS 34 a 59638

Beneficiary/Recipient Information (ini: 1s the uilimate recipient of the wre transfer funds}
Beneficiary Racipiont Name. Name/Address Line 1:
IBEN, ASA LTD . 1463ALAN &
Beneficiary Account Suamber/IBAN (Forsgn}/CLABE (Mexico): Name/Address Lit

  

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Amount (US Deltars):
$29, $00, 06

‘Wells Fargo Wire Transter Services will raute wires, See the Wire Transfer ‘LABE number, the
SVAFI BIC, the international Routing Gode (“IRE”) and the tntemavonal Bank Account Number (TRAN")
Originator’s Information
Customer Name:
Pomary 0 Type: Description “Tagéress Line: eee
DEIC : oe
Primary ID Svciry-Prov.  Pramary ID Issue Date Primary 10 Experation Date Adkiress Lite 3:
AL 94/11/2009 igas2sy20t4 ee __
Secondary 10 Type: Secondary 1D Description: City: State:
OTAR BC WELLE FA2GO | . ____|GREEN ¥ALLEY {Az
Socondary 0 StateComtry: Secondary IDissue Date: Secondary 0 Expiration Dae: TP Pastal Code: County:
_. 99/90/2013 aS614-3745 — ies _
Horne Phone: Business Proce:

 

N90 KUALA LUMPUR
Inlomnatiordcom-rents: ~ Name/aaaress Lines &
MADAYSTA
Beneficiary Prone Numoer:

 

Beneficiary Bank (This is the financial institution where the beneficiary maintains their account)

 

 

SEARIN SWETABIC: Bervaficiary Bark Name:
I MBBEMYXL MAYBANK PERHAD
Beneficiary Bank Adcress: City: Country:

[ROALA LUMPUR MY

 

 

On June 6, 2018, the sender of the wire transfer above, Victim #4, a 77-year-old woman from

Green Valley, Arizona, was interviewed by agents of the Tucson Resident Agency. Victim #4

 

 

Page tat 4

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advised that she had met a man named Harry McFord on Match.com in 2012 and developed

romantic feelings for him. McFord advised Victim #4 that he was an engineer that performed

projects all over the world, including Malaysia, Amsterdam, and Dubai.

occasions, McFord told Victim #4 that he was going to fly to Tucson to meet Victim #4 in person.

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Each time Victim #4 went to the airport but McFord never showed up. Over the course of the
relationship, Victim #4 estimated that she sent $50,000 or more to McFord, including the wire
transfer above which was to be for taxes or fees associated with a million-dollar contract that
McFord had been awarded in Malaysia. McFord promised to repay Victim #4 but never did.
Victim #4 confirmed that she communicated with McFord using his <hford_55@yahoo.com>
email account (“the McFORD ACCOUNT”). Based on my training and experience, and
knowledge of this investigation, I believe that an individual identifying themselves as “APAMAN”
was the scammer that executed a romance scam on Victim #4. An analysis of the originating
Internet Protocol (“IP”) address on the email from the McFORD ACCOUNT found that it
originated in Malaysia. From training, knowledge and experience, I believe that “APAMAN” has
reached an agreement whereby OJEDOKUN arranged for a receiver in Malaysia to receive the
$29,500 wire from Victim #4 and OJEDOKUN arranged for “APAMAN” to be compensated in
a foreign currency or currencies of his choosing.

MANCI

21. On July 17, 2014, the OPEO ACCOUNT received the below email, which

contained a receipt for a $17,800 cash deposit:

ao---- Forwarded Message --------

Subject: Fw: From manci

Date: Thu, 17 Jul 2014 20:08:28 +0100
From: kaysay <morrisskaysay@yahoo.com>
To: opeoluwaseun@gmail.com

 

*From: *kaysay

*Sent: *Thursday, July 17, 2014 7:28 PM
*To: *belyaventure@yahoo.com
*Subject: *From manci

Attachment: REC jpg

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A search of FBI databases identified the depositor of the $17,800 as Victim #5, a 53-year-old man
from Norman, Oklahoma. Victim #5 was interviewed by an agent from the FBI’s Oklahoma City
division which was conducting an international money laundering investigation involving a
company in Oklahoma. Victim #5 had fallen victim to a series of scams perpetrated by “Julia
Davis” whom Victim #5 had met on a dating website. Julia told Victim #5 that she had a sick
mother that lived overseas in Nigeria and needed medical treatments. Julia also told Victim #5
that she had inherited a box with $850,000 in cash inside, which she intended to use for her
mother’s medical treatments, but she needed assistance with taxes and transportation fees to get
the box to Nigeria. Victim #5 estimated that he lost about $110,000 to Julia, including the $17,800
deposit shown in the email above. Based on my training and experience, and my knowledge of
this investigation, I believe that an individual identifying themselves as “Manci’” was the
perpetrator of this scam against Victim #5. From knowledge, training, and experience, I believe
that “Manci” has reached an agreement with OJEDOKUN and others in the email chain to launder

the proceeds of the scam targeting Victim #5.

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ADDITIONAL UBALE ACCOUNT CONDUCT

22. | Numerous other emails indicative of fraud and money laundering were noted in the

OPEO ACCOUNT, including several more from the UBALE ACCOUNT. For example, the

email below with attachment was located:

wn-nnn-- Forwarded Message --------

Subject: Fw: Fwd: Scanned001.PDF

Date: Fri, 9 May 2014 11:51:57 +0100 (BST)

From: Ubale Yunusa <ubarans74@yahoo.com>

To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>

Sent from Yahoo Mail on Android

 

*From: * Yunus <ubarans74@yahoo.com>;
*To: * yunusa rano <ubarans74@yahoo.com>;
*Subject: * Fwd: Scanned001.PDF

*Sent: * Fri, May 9, 2014 6:41:14 AM

Sent from my iPhone

Begin forwarded message:

> *From:* Yunus <ubarans74@yahoo.com>

> *Date:* 12 Afirilu, 2014 08:34:30 PM GMT+1

> *To:* abduljj2001@yahoo.co.uk>
> *Subject:* *Scanned001.PDF*

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Case 8:19-cr-00228-PWG Document1-1 Filed 04/12/19 Page 26 of 40

WIRE TRANSFER FORM

customer's name DATE 04/11/2014
customer's appress

ALEXANDRIA, MN 56309

 

 

Debit account number Mi or Cash

(DESTINATION BANK (if applicable) 288K OF AMERICA

 

DESTINATION BANK Routing Number (9 digits) 026909593

 

BENEFICIARY BANK BANK OF AMERICA

 

BENEFICIARY BANK Routing Number (9 digits) 926009593

RECIPIENT NAME 422_AURTO CENTBR INC

RECIPIENT ADDRESS

FAYETTEVILLE, GA 320214

 

 

RECEPIENT ACCOUNT NUMBER Ji 2225
AMOUNT GF WIRE $16,000.00

REFERENCE OR OTHER INFORMATION

[ Caller 1D verified C1] am

Voice or FAX wire in excess of $25,000.00 call-back verification to customer prior to transfer completed. [|

 

 

 

if Non-customer, verification documents attached. OFAC check completed [|

On July 11, 2018, an agent from the Minneapolis division of the FBI interviewed Victim #6, a 53-
year-old man from Alexandria, Minnesota. In 2014, Victim #6 met a woman calling herself
Pamela Thompson on ChristianMingle.com, an Internet dating website. After developing feelings
for Thompson, Victim #6 estimated that he sent her about $50,000 as part of a gold investment in
which they were supposed to split the profits. Victim #6 sent the funds in various ways to different
parties as directed by Thompson, and Victim #6 thought that the wire above was for the gold

investment. Victim #6 also related that he had been the victim of two other scams in which he had

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lost over $240,000, including an inheritance scam. Victim #6 did not receive any money back
from any of the scams. I believe that OJEDOKUN, the owner of the UBALE ACCOUNT, and
others conspired to launder the $10,000 sent by Victim #6 shown in the wire transfer form above.

23. Another email involving OJEDOKUN, the UBALE ACCOUNT, and others is

shown below:

weonnen- Forwarded Message --------

Subject: Fw: Fwd: PAYMENT SLIP FROM ODIMEGWU

Date: Fri, 9 May 2014 11:48:58 +0100 (BST)

From: Ubale Yunusa <ubarans74@yahoo.com>

To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>

Sent from Yahoo Mail on Android

 

*From: * Yunus <ubarans74@yahoo.com>,;

*To: * yunusa rano <ubarans74@yahoo.com>;

*Subject: * Fwd: PAYMENT SLIP FROM ODIMEGWU
* *Sent: * Fri, May 9, 2014 6:46:19 AM

Sent from my iPhone
Begin forwarded message:

> *From:* Yunus <ubarans74@yahoo.com>

> *Date:* 25 Maris, 2014 08:36:19 AM GMT+1

> *To:* abduljj2001@yahoo.co.uk

> *Subject:* *Fwd: PAYMENT SLIP FROM ODIMEGWU*
Attachment: Scan0007-2.pdf

-27-

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* Recipient Transfer Page | of |
RECEIPT
Recipient Transfer
Reference Number 20140324-00012381
Branch 2340025 WALMART MONEY CENTER-MARIANNA FL
Payment Amount 4,000.00 US0 Rate Contract Number
Debit Amount 4,000.00 USD Charge Party None
Send Date 24MARZOL4 Value Date 24MARZ2014 Time: 14:09
Consumer X-Sorder Not D-F
Debit Party
D/L0001 33881913
CHATTAHOOCHEE FL 32324-0762
Recipient
Is Recipient a Bank? Na
789
ISOMA DUNKWU
BETHLEHEM, PA 16017
Recipient's Bank
808
TD BANK, NA
PHILADELPHIA, PA
Bank to Bank Originator to Recipient

Information Information

In or around April 2014, the originator of the money transfer shown above, Victim #7 of
Bainsbridge, Georgia, was contacted by TD Bank regarding the $4,000 wire transfer. Victim #7
advised that he was a 73-year-old man who thought he had won an international lottery and was
directed to wire the $4,000 depicted above in order to pay taxes on his winnings. I recognize this
as a common version of an advanced fee scheme known as a “lottery scam.” A review of records
provided by TD Bank for the account ending 4789 (“TD 4789”) found that the signature card for

the account listed Co-Conspirator #1 and Individual #1 as the signers on the account. On March

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25, 2014, these funds were commingled with another suspected fraudulent deposit and transferred
to a TD Bank account ending 9053 (“TD 9053”) which was held in the name Co-Conspirator #1
DBA Co-Conspirator #1 Enterprise. On March 26, 2014, a series of four identical wires were
made from TD 9053. Each of the four wires was for $6,180 and were directed to Co-Conspirator
#2 in Lagos, Nigeria, at accounts held at the Nigerian banks Guaranty Trust Bank PLC and Stanbic
IBTC Bank PLC. I believe it is likely that Co-Conspirator #2 is the owner of the email account
<abduljj2001@yahoo.co.uk> (hereafter “the ABDUL ACCOUNT?) that is in the email chain
above with the $4,000 wire receipt from Victim #7. I believe that OJEDOKUN, the owner of the
UBALE ACCOUNT, Co-Conspirator #1, Co-Conspirator #2, and others conspired to launder
the $4,000 sent by Victim #7.

24. Review of the OPEO ACCOUNT found still more emails indicative of money
laundering that involved OJEDOKUN, the UBALE ACCOUNT, and the ABDUL ACCOUNT.
For example, the below email was sent to the OPEO ACCOUNT from the UBALE ACCOUNT

on the same day a few minutes after the email regarding Victim #7:

Subject: Fw: Fwd: P.Ayxxxxxx_l0k. pdf

Date: Fri, 9 May 2014 11:51:12 +0100 (BST)

From: Ubale Yunusa <ubarans74@yahoo.com>

To: opeoluwaseun@gmail.com <opeoluwaseun@gmail.com>

Sent from Yahoo Mail on Android

 

*From: * Yunus <ubarans74@yahoo.com>;
*To: * yunusa rano <ubarans74@yahoo.com>;
*Subject: * Fwd: P.Hxxxxxxx_10k.pdf

*Sent: * Fri, May 9, 2014 6:44:54 AM

Sent from my iPhone

Begin forwarded message:

> *From:* Yunus <ubarans74@yahoo.com >
> *Date:* 1 Afirilu, 2014 11:35:26 AM GMT+1

> *To:* abduljj2001@yahoo.co.uk
> *Subject:* *P.Hxxxxxxx_10k.pdf*

yyy
 

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Attachment: P.Hxxxxxxx_1l0k.pdf
OUTGOING WIRE TRANSFER

of SIT] wmaral Zi
INTL WIRE FEE)

[ _ — —

mera, OSU W\ID5 | sal “TO Bank |
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OUR CUSTOMERS INFORMATION |
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i ja
| BENEFICARY INFORMATION

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Although the sender’s information was deliberately obscured in this attachment by one of the co-

conspirators, a review of the account records for TD 9053 found that Victim #8 in fact sent a wire

for $10,000 to TD 9053. In May 2018, an agent from the FBI Dallas division interviewed Victim

#8 regarding this wire transfer. Victim #8 advised that she was 71 years old, and in 2014 she had

been approached about making an investment involving Nigerian crude oil in which she could earn

up to 20 times her initial investment. Victim #8 ended up investing her entire retirement account

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of at least $192,000 and borrowed at least $130,000 more on credit cards. The investment was
made in many installments and there was always one more payment that needed to be made.
Victim #8 got no return on her investment and Victim #8 and her husband are now in a debt relief
program and her son has assumed control of their finances. Although the TD 9053 account was
frozen shortly after the $10,000 wire above, I believe that OJEDOKUN, the owner of the UBALE
ACCOUNT, Co-Conspirator #1, Co-Conspirator #2, and others conspired to launder the
$10,000 scammed from Victim #8. The email chain below between OJEDOKUN and the
UBALE ACCOUNT indicates that both parties were located in the same general physical location
in May 2014, which I believe was most likely Nigeria based on a review of the OPEO ACCOUNT

and OJEDOKUN’s visa application:

Subject: Re: From Alhaji

Date: Tue, 20 May 2014 13:06:38 +0100 (BST)

From: Ubale Yunusa <ubarans74@yahoo.com>

To: Seun Banjo <opeoluwaseun@gmail.com>

I will come and see u today

Sent from Yahoo Mail on Android

 

*From: * Seun Banjo <opeoluwaseun@gmail.com>;
*To: * Yunus <ubarans74@yahoo.com>;

*Subject: * Re: From Alhaji

*Sent: * Tue, May 20, 2014 11:43:56 AM

Good morning. When will you come for your slip?

 

On 19 May 2014 00:55, Yunus <ubarans74@yahoo.com> wrote:

Pls I'm coming to collect the document I sent to your mail help me
print it

Sent from my iPhone
Additional Information Regarding Consciousness of Guilt
25. In addition to the numerous emails which I believe were specifically related to the

laundering of fraudulent proceeds, I observed several emails that were suggestive of

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OJEDOKUN’s awareness of and/or participation in other illicit activities. For example, the email

below relates to Victim #9, who was the victim of a retirement account compromise:

Subject: Re: Document and signature

Date: Thu, 5 Jun 2014 20:09:11 +0100

From: Seun Banjo <opeoluwaseun@gmail.com>
To: Jane Funkey <janefunkey@gmail.com>

On 5 June 2014 19:26, Jane Funkey <janefunkey@gmail.com> wrote:

Forest.. that place you see they indicate as signature in the
document pls sign it and date it at the place they indicate date..
The signature is that one with <Victim #9>

-- Regards

Jane Funkey
Attachment: KKK 003 jpg

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Case 8:19-cr-00228-PWG Document1-1 Filed 04/12/19 Page 33 of 40

 

To: LONT7Z20 Froa:UDS Fax. tS at: O4-JUN-2014-11:24 Doc: 343° Page: 004
Section &. Tak Withholding Election (must Ee: completed)
A, Federal Yax Withholding Elections: B tore: ] winhost mS OARS
Unless 2 greater amounl is elected, distibutions sent te non-US addresses will have 10% federal tax withheld.
B. State Tax Withholding Elections: 13 Nove [7] withoid % os

complete distrBautions, ie, AK, AZ,
your state of residence has no sti tncome tnx or Goes nt pit Sate ta tr rom RA
at 11. MS, NH, NV, PA; SD, TM, TX, WA, WY, Residents of ab other states must complete this sccory.
hchign Rasklrts Wr wl wthhad via rte 4.25% vile pe pie a witholg incon wing Oe Micigan WA frm.
fsticL Residen thal unless: higher withholding rat
ne Neath Cores Resort Troe nae rocker eps or ii ttn

 

Section 5. Reason foy Distributten (nost select only cre}

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[C1 Eaity, exception appties (1.2. 7211) Sunstantiatly Equal Pertadic Payments)

(11 Death (distribution ta approved feniticiary frorn litheiited IRA)

(2) Divorce (Attach Divarce Decree)

Ty Coverdell Education Savings Actount

(C1) Rollover to Bigatte Retirement Pian

[) Disability Please have your physiciari slgn here:
Leertfy that the pallent named on this forn has had a disability within the meaning of internal Revenue Code Section 72{onX7) since
___ freevciyyyy)

 

Physician's Name Physiden's Signsture

 

Physiclari's Address
Section 6 Signsture of Acknowledgement (Al must sign)

Dy sering hve, gree tat appabte acknowledgements of ta following arg of is for Gain 7
in addition.

(stribution tom 4 Roth iRA, and $ and certify that ary distribution J receives

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sea qualtied Rath Toth dedowtion, that the frst Roth RA A co ee tigcetiecrion, BD See ae
eC of pC oo a rian bed wee) lam sbanelciny ‘the deceased Roth
TRA owner,

 

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oO ‘This distribution i trom a SIMOLE (RA, and Crepreserit thet t nave maintained & SMALE RRA for more Shan bvo yews,

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The document above appears to be a retirement account withdrawal form for UBS Financial
Services for identified account holder Victim #9. It appears that the sender of the initial email
‘Jane Funkey” asked the recipient “Forest” to sign and date the withdrawal form using Victim #9’s
name. In June 2018, UBS Financial Services provided records to the FBI regarding Victim #9,
which showed that Victim #9’s retirement account had been accessed without his authorization in

2014. Several wire transfers totaling $169,976 were made between May 28, 2014, and June 6,

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2014, by an unknown party who possessed the answers to Victim #9’s security questions. Based
on my training and experience, and my knowledge of this investigation, I believe that
OJEDOKUN possibly signed this account withdrawal form at Jane Funkey’s behest in order to
facilitate the theft of funds from Victim #9’s retirement account.

26. The email below indicates that OJEDOKUN registered for membership at the
website BlackShop.pro which from training, knowledge, and experience I know to be a website
frequented by hackers looking to purchase hacking tools or credentials to access web hosting
servers:

Subject: Activation Account seunban2000
Date: Tue, 12 Aug 2014 12:52:56 +0400
From: No-Reply <noreply@blackshop.pro>
To: opeoluwaseun@gmail.com

Dear seunban2000
Your account was successfully created with the following access details:

Account Access Name : seunban2000

Email Address : opeoluwaseun@gmail.com

Password : [**********] Your chosen password

To activate your Account click HYPERLINK

http://www. blackshop. pro/login.html? Activate=b53396049a9e2d5995c83 6af9843 ldfb49a8ac5c

Black SHOP TeaM ©
The e-mail system is sent automatically by our system. Please do not reply.
Thank you for your business.

Shortly after OJEDOKUN registered for membership, he appears to have purchased credentials
for an unidentified web site. From training, knowledge, and experience, I know that cPanel is
software that simplifies the process of hosting a web site for an authorized administrator. If a
person obtained the proper credentials for the cPanel associated with a particular web site, the

person could gain control over that web site. In the email below, OJEDOKUN is complaining to

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an unknown party that the credentials that he purchased on the Blackshop.pro web site were not

working:
Subject: password
Date: Tue, 12 Aug 2014 14:45:06 -0700
From: Seun Banjo <opeoluwaseun@gmail.com>
To: jowad.kazi@gmail.com
Good day

I bought. a cpanel at blackshop.pro
I need the correct username and password

Thanks

27. In a similar fashion, as shown in the email below, OJEDOKUN appears to have
purchased or attempted to purchase what is likely a stolen credit card from an unknown party.
Most of the data associated with the stolen credit card appears to be masked, so it is possible that
OJEDOKUN did not complete the transaction:

waonnen- Forwarded Message w-------

Subject: Blaze Alibaba

Date: Wed, 20 Aug 2014 03:52:23 +0530

From: ALiBaba <biz@alibabaz.com>
To: opeoluwaseun@gmail.com, seunban2000@yahoo.com

 

+ + CapitalOne 2 + +
Username : Ahhffth

Password . vnhb vgihg

First Name 2 dbjiguyi

Last Name 2 wah gkhi

Address ‘ gj4ivho

Address 2 City: blhuigu

State :KY

ZipCode / ug4ybhjve

Country : jgnvhi

Phone: gvuiuhiuhyi

Date of Birth [M-D-Y] 1 XX-XX-1985

Social Security Number : XXXXX6747

Debit or credit card number : XXXXXXXXXXXXXXXXXXXX6800
Card Expiration date 01-2011

Cywv2: ; 143

Mother's Maiden Name : mamscn

Pin: jnhbrjbj

Email : jbvnhkj aN

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Password 2 bvtjhik

 

Client IP : 154.120.80.16
HostName : 154.120.80.16
Date Log : 2014-8-19
Time Log : 22:22:22.

IP; 154.120.80.16

Date:

28. It also appears that OJEDOKUN experimented with phishing for online banking
credentials. In the emails shown below, OJEDOKUN appears to have obtained templates that
could be used to mass email users in an attempt to harvest their online banking credentials. In the
first email, OJEDOKUN emails himself a web link from another email account which he controls.
This link is then embedded in two subsequent phishing templates that he later emails to himself,

presumably to test or view the phishing email prior to sending it:

EMAIL 1

Subject: boa on pointjoor

Date: Wed, 20 Aug 2014 18:51:02 -0500
From: seun <seunban2000@yahoo.co.uk>
Reply-To: opeoluwaseun@gmail.com

To: opeoluwaseun@gmail.com

http://dhakeshwarimandir.com/bankofamerica/bankofamerica/user/details. php
I believe that OJEDOKUN purchased the cPanel credentials for the web site domain above
(dhakeshwarimandir.com) on the web site Blackshop.pro and planned to use the purchased domain
access to host a fake Bank of America login page that would harvest the credentials of anyone who

attempted to login. The templates that OJEDOKUN emailed to himself are shown below:

EMAIL TEMPLATE 1

Subject: Your online Banking is Blocking
Date: Sat, 23 Aug 2014 12:16:56 -0300

From: BankofAmerica <customercare@boa.com>

Reply-To: customercare@boa.com
To: opeoluwaseun@gmail.com
*Hello* ,

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This is an automatic message by the system to let you know that you have to confirm your account
information within 24 hours.
your account has been frozen temporarily in order to protect it.

If you don't confirm your account within 24 hours , your account will be *permanently Frozen*.

To confirm your account visit the link below :
*Verification link*
<http://dhakeshwarimandir.com/bankofamerica/bankofamerica/user/details.php>.

once you have confirmed your account informations your account will start to work as normal
once again

This is an automated message. Please do not reply to this email. If you need additional help,
please visit BOA Support

Thanks,
BOA Security Team

TM and copyright © 2014 BOA Inc.

EMAIL TEMPLATE 2

Subject: Update your online information
Date: Mon, 25 Aug 2014 12:57:43 -0500

From: BankofAmerica <customercare@boa.com>
To: opeoluwaseun@gmail.com

*Hello* ,

This is an automatic message by the system to let you know that you have to confirm your account
information within 24 hours.

your account has been frozen temporarily in order to protect it.

Ifyou don't confirm your account within 24 hours , your account will be *permanently Frozen*.

To confirm your account visit the link below :
*Verification link* <http://alsdaa.com/bankofamerica/bankofamerica/user/details.php>.

once you have confirmed your account informations your account will start to work as normal
once again
This is an automated message. Please do not reply to this email. If you need additional help,

please visit BOA Support

Thanks,
BOA Security Team

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29. Further review of the OPEQ ACCOUNT located an email indicating that
OJEDOKUN had purchased U.S. tax preparation software for tax year 2013 from TaxACT as

shown below:

 

Subject: Confirming Your TaxACT 2013 Account Info

From: "TaxACT Online" <reply @taxactonline.com>

Date: 6/5/2014 3:25 PM

To: "OPEQLUWASEUN@GMAILCOM" <opeoluwaseun@gmail.com>

Signin to TaxACT Online 2013 with your account info beiow.

Ta Signin | Supgort | Retuer Chaceist

Thanks for choosing TaxACT. Below is your account information you will need to sign in to your TaxACT
Online 2013 account anytime, anywhere from any computer or tablet browser.

In order to protect your information, we do not share personal information or passwords via phone or email.
Therefore, we recommend printing this email, writing in your password and security answer, and saving this
paper with your tax records.

Username: OPEOLUWASEUN@GMAILCOM

 

Forgot 2013 Password?

Secret Question: What is your city of birth?

 

With Free Feceral Edition, we guz-a tee your federal retum is FREE and your
Your Guaranteed TaxACT Fees: state retum is $17.99 (additional state returns $17.99 each). For more
information, sign in and click an "My TaxACT”.

Sign in

File your state taxes fast and easy. TaxACT automatically transfers your federal daia to your state forms.
Answer a few questions and file in minutes! Sign in and click on the "State Q&A" tab to start.

Questions? Please do not reply to this email. Contact us through our Support and Service Center.

 

 

 

Records provided to the FBI by TaxACT confirmed that an account was established using the user
name <opeoluwaseun@gmail.com> and that in tax year 2013 a tax return using the name and
social security number of Victim #10, an identified U.S. person with the initials S.K., had been

completed but not filed. The return was created on June 5, 2014, the same day that OSEDOKUN

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registered for TaxACT. TaxACT also provided records that showed that a user using the email
and user name of <seunban2000@yahoo.co.uk> created a tax return using the name and social
security number of an identified U.S. person, Victim #11. This return was created on January 23,
2015. A search of FBI databases found that Victim #11 appeared to have been the victim of
identity theft. I believe that OJ/EDOKUN purchased tax preparation software from TaxACT and
then obtained names and identifying information for U.S. persons with the intent of filing
fraudulent tax returns. This is commonly referred to as Stolen Identity Refund Fraud (“SIRF”).
Although OJEDOKUN may not have been successful in his SIRF attempts, they speak to his state
of mind and criminal intent.
Conclusion
30. Based on the facts set forth herein, I respectfully submit that there is probable cause

to believe that:

1. Between in or about January 2011 and March 2015, OJEDOKUN

committed conspiracy to commit money laundering, in violation of 18 U.S.C.

§ 1956(a)(1 )(A)G), (a)(1)(B)G@), and (h); and

il. On or about April 26, 2014, OJEDOKUN committed promotion and

concealment money laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i),

(a)(1)(B)(i), and § 2.

Therefore, I request the issuance of a criminal complaint and an arrest warrant.

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31. Your affiant has signed this document under oath as to all assertions and allegations

contained herein and states that its contents are true and correct to the best of his knowledge.

“ht b. Gude

Keith A. Custer, Special Agent
Federal Bureau of Investigation
Department of Justice

 

| . \pth ,
Subscribed and sworn to me on this day of April, 2019.

oy yy / /
LLL Moons

The Honorable Thomas M. DiGirolamo

United States Magistrate Judge

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